






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






ON MOTION FOR REHEARING









NO. 03-10-00681-CR






Jimmy Duran Lopez, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT

NO. CR-10-0192, HONORABLE JACK ROBISON, JUDGE PRESIDING



			

M E M O R A N D U M   O P I N I O N

		

		Appellant, Jimmy Duran Lopez, pleaded guilty to thirteen counts of aggravated sexual
assault of a child and to five counts of sexual assault of a child.  See Tex. Penal Code Ann. §§&nbsp;22.021,
.011 (West 2011).  He also pleaded true to three enhancement paragraphs in the State's indictment.
Lopez waived his right to a jury and instead elected to have the trial court assess&nbsp;punishment.

		During the plea proceeding, Lopez acknowledged that the trial court could assess
punishment as to each count for a term of not less than twenty-five years nor more than ninety-nine
years or life imprisonment and could order the sentences to run consecutively.  See id. §§ 12.42(d),
3.03(b) (West 2011).  Following a punishment hearing, the court adjudged Lopez guilty on all counts,
assessed punishment at imprisonment for life for each count, and assessed restitution in the amount of
$100,000.  The trial court ordered some of the sentences to run consecutively, such that Lopez is to
serve four life sentences.

		Lopez's court-appointed attorney filed a brief concluding that the appeal is frivolous
and&nbsp;without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738 (1967),
by&nbsp;presenting a professional evaluation of the record demonstrating why there are no arguable
grounds&nbsp;to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573&nbsp;S.W.2d 807
(Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State,
485&nbsp;S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969). 
Lopez received a copy of counsel's brief and was advised of his right to examine the appellate record
and to file a pro se brief.  See Anders, 386 U.S. at 744.  No pro se brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is
frivolous&nbsp;and without merit. We find nothing in the record that might arguably support the appeal. 
See&nbsp;Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  Counsel's motion to withdraw
is&nbsp;granted.

		The judgment of conviction is affirmed.


____________________________________

							Diane M. Henson, Justice

Before Chief Justice Jones, Justices Puryear and Henson

Affirmed on Motion for Rehearing

Filed:   December 7, 2011

Do Not Publish


